                    Case
                     Case1:23-cv-00142-DKG
                          1:23-cv-00142-BLW Document
                                             Document16-7
                                                      52 Filed
                                                          Filed04/17/23
                                                                04/06/23 Page
                                                                          Page11ofof22

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                        District
                                                __________       of Idaho
                                                           District  of __________

                                                                )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No.FY'.*
                                                                )
                                                                )
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.
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                                                                           CLERK OF COURT
                                                                                                   
                                                                                                Laura McInnes
Date:    04/06/2023                                                                         on Apr 06, 2023 9:56 am
                                                                                     Signature of Clerk or Deputy Clerk
          Case 1:23-cv-00142-BLW Document 52 Filed 04/17/23 Page 2 of 2




                                                 UNITED STATES DISTRICT COURT
                                                            FOR THE
                                                       DISTRICT OF IDAHO

 Planned Parenthood Great Northwest.
 Hawaii, Alaska, Indiana, Kentucky. et at                 Plaintiff(s):
                                                                                 OECLARATION OF SERVICE
 vs.                                                                             Case Number: 1 :23-cv-00142~DKG
                                                          Oefendant(s):
 Raul Labrador. et at



COMES NOW,                 Sean Capps                           • hereby declares and .says: That I am over the
age of eighteen (18) years, and not a party to the action or related to any of the parties in the above entitled
action. I received a true copy of the Summons In a Civil Action; Complaint; Motion for Temporary
Restraining Order and Preliminary Injunction and delivered the same upon Minidoka County
Prosecuting Attorney by delivering to and leaving with:


(Name)          Lance Stevenson                      (Title)    Prosecuting Attorney
a person authorized to accept service on behalf of Minidoka County Prosecuting Attorney

At:(AddresS}_ _ _ _--'-7.;;;.15~G.;;;.S;;..;.t_ _ _ _ _ _ _ _ _ _ _ _ _ _ __


{City, State. ZiP)_ _ _ _-=R=up"-'e;..;;.rt=>=ID:c.. . .;;.8.:;..;33;;.;:;5;..;;.O_ _ _ _ _ _ _ _ _ __


on the         12                A..p:.:::.ril=·_ _ _ _, 2023, at
                         day of __                                        3:21   o'clock .-J?... m.



1declare under penalty of perjury pursuant to the law of the State of Idaho that the foregoing is true and correct.



(Datel_ _4.::,./;:;..:12:::..:/2:.:;:O=.:23::...-_ _




Our Reference Number: 202276
Client Reference: ;;. Rachel Craft
